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ECF Case '
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Ayhten vw Al Daeda [hase Amy, 2 Cl 6977 (CBD)

Barnett » Al Baraka Inv. & Dev. Carp, 03 CV 9849 (GBD)

Burned vl! Barada Inve Den Corp, 03 Cl 3798 (GBD)

Federal Ins. Co. vu. Al Qaida, 03 CV 6787 (GBD)

Rarrera v. Al Gaeda Iidanne Arey, 07 Cl 7036 (GBD)

Sado o. Al Qaeda Isdanne Army, 02 CV S077 (CBD)

Tremsky vt. Osama Bin-Laden, 02 CV 7300 (GBD}

Estate of fobn P. O'Neil, Sr. 2. lf Baraka Inv. ee Dev. Comp, 03 CV 1927 (GBD)
Connnenial Cas, Co. v. All Qaeda Irtamic Army, 04 CV 5970 (GBD)

Cantor Pitegeraid Assocs, LP,» Adide Inv, Ca, Ltd, 04 CW 7065 (GBD)

New York Marine co Gen. Ins. Co. v Al Garda, 04 CV 6f0s (GBD

Esra Brokers, Inte. 1. Al Baraka fae. te Dev, Corp, OF CV 7279 (GBD)

W'ordd Trade Center Properties, LLC « Al Baraka Inv ce Dev. Carp, G4 CT 7286 (GBD)
Bauer 2 ll Qaeda Islamic Arar, 02 CV 7235 (GBD)

Keating vl Baraka Inv. e Dev, Corp, 07 CV 3859 (GBD)

ORDER
This matter came before the Court on Motion by Patton Boggs LLP ro relieve Ronald §.
Liebman as one of the attorneys of record for the National Commercial Bank (‘NCH”}, a defendant
in the above-capnoned actions.
Good cause being shown, it is hereby ORDERED that Ronald 5. Liebman is relieved as one
of the attumeys of record for NCB in the above-captioned actions.

it is further ORDERED that appearance of Mitchell R. Berger for NCB in the above-

captioned acoons will remain unchanged.

Dated: DEC 4 0 oor

Bo Don &

‘pe BPanicls

United States Dis GEORGE B. DANIELS

